                                                                            Motion GRANTED
                                                                            for extension to
                    UNITED STATES DISTRICT COURT                            10/7/13.
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION

                                          )
UNITED STATES OF AMERICA
                                          )
                                          )
v.                                                  Case No: 3:11-cr-00082-03
                                          )
                                          )
FRANK DWAYNE RANDOLPH
                                          )


     MOTION FOR EXTENSION OF TIME TO FILE BRIEF REGARDING
     DEFENDANT’S MOTION TO STAY FORFEITURE PROCEEDINGS

        COMES NOW, Defendant Frank Randolph, and respectfully requests this

Court to grant him an extension of time to file his reply brief addressing the

likelihood of success on appeal. In support thereof, he shows the following:


        Mr. Randolph filed a Petition to Stay Forfeiture Pending Appeal on June 6,

2013, Docket Entry (“D.E.”) 1405. The Government filed a motion in response

opposing the Petition for multiple reasons, including that the Petition was not

timely because the Court had not yet entered a Final Order of Forfeiture, and

because Mr. Randolph was not likely to be successful on appeal. The Court then

ordered Defendant to respond to the Government’s motion by today, August 21,

2013.


        The transcripts from Mr. Randolph’s trial have been provided to undersigned

counsel in several separate deliveries because a) certain portions of the trial


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